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                                   UNITED STATES DISTRICT COURT
14

15                               NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN FRANCISCO DIVISION

17
     NATIONAL TPS ALLIANCE, et. al.,                Case No. 3:25-cv-1766-EMC
18
19                          Plaintiff,
           v.
20                                                  Judge: Hon. Edward M. Chen
     KRISTI NOEM, in her official capacity as
21   Secretary of Homeland Security, et. al.,       RESPONSE TO PLAINTIFFS’ NOTICE OF NON-
                                                    COMPLIANCE
22                           Defendants.
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28 RESPONSE TO PLAINTIFFS’
   NOTICE OF NON-COMPLIANCE
   No. 3:25-cv-1766-EMC
           Case 3:25-cv-01766-EMC           Document 178        Filed 06/04/25     Page 2 of 3




 1          Defendants submit this Response to Plaintiffs’ Notice of Non-Compliance. ECF No. 175. As

 2 undersigned counsel stated in her discussion with opposing counsel on June 4, 2025, Defendants

 3 inadvertently overlooked the deadline indicated in the May 29, 2025 minute entry. ECF No. 161. 1 Instead,

 4 Defendants were operating under an understanding that the June 6, 2025 deadline pertained to the

 5 completion of the final declaration whether the 20 custodians at issue used communication means outside

 6 of government email and OneDrive, and if so, the steps taken to collect the responsive data after conferring

 7 on collection methodology with Plaintiffs. Id. Because these individuals include high-level officials

 8 including the Secretary of Homeland Security, the Deputy Secretary of Homeland Security, and additional

 9 advisors, the process of obtaining this information is not instantaneous. While Defendants did start that

10 process shortly after the Court’s May 29 hearing, it has not been completed as of June 4, 2025. Defendants

11 intend to file the declaration as soon as possible and will meet and confer with Plaintiffs if any custodian

12 identifies use of a personal account for communication in the interim.

13 Dated: June 4, 2025                                   Respectfully submitted,

14                                                       YAAKOV M. ROTH
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23                                                       /s/ Sarah L. Vuong
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25                                                       Office of Immigration Litigation

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           While undersigned received an ECF notification regarding Docket Entry 161, that entry does
27 not appear on the public facing docket.
   RESPONSE TO PLAINTIFFS’
28 NOTICE OF NON-COMPLIANCE
   No. 3:25-cv-1766-EMC
                                                    1
       Case 3:25-cv-01766-EMC   Document 178   Filed 06/04/25    Page 3 of 3




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   RESPONSE TO PLAINTIFFS’
28 NOTICE OF NON-COMPLIANCE
   No. 3:25-cv-1766-EMC
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